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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   HOLLY RICE, individually and as parent
   and natural guardian of N.R., D.W.,
   D.W., K.W., minor children; RUDOLPH
                                                         CASE NO. 2:17-CV-489-LPL
   SMITH and YMA SMITH; GARY J.
   KUKLISH and KIMBERLY KUKLISH;                              ECF NOS. 58 & 72
   GEORGE and URSULA C. MARKISH;
   and DARREL REDMAN and GINA
   REDMAN, individually and on behalf of
   all others similarly situated,

                Plaintiffs,
         vs.

   FIRST ENERGY CORP., NRG ENERGY,
   INC., and MATT CANESTRALE
   CONTRACTING, INC.,

                Defendants.



                                       ORDER

      AND NOW, thisJ~y of September, 2018, in consideration of the Motions for

Summary Judgment filed by First Energy Corp. (ECF No. 58) and NRG Energy, Inc. (ECF

No. 72), the briefs, concise statements of undisputed facts and supporting documents,

and Plaintiffs' briefs, responsive statements of fact and supporting documents in

opposition to said motions,

      IT IS HEREBY ORDERED that First Energy Corp.' s Motion for Summary

Judgment (ECF No. 58) is GRANTED for the reasons set forth in the Court's Opinion of

this same date. The Clerk of Court is directed to enter judgment in favor of Defendant,

First Energy Corporation.
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       IT IS FURTHER ORDERED that NRG Energy, Inc.'s Motion for Summary

Judgment (ECF No. 72) is GRANTED for the reasons set forth in the Court's Opinion of

this same date. The Clerk of Court is directed to enter judgment in favor of Defendant,

NRG Energy, Inc.

       IT IS FURTHER ORDERED that Plaintiff shall file a second amended complaint,

which complies with the Court's Opinion of this same date, within twenty-one days of

this Order.




                                        United States Magistrate Judge

cc:    All Counsel of Record
       Via CM/ECF Electronic Mail




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